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            If you have any questions, you should see an attorney immediately. If you need help•in finding
 2    an attorney, you may contact the Oregon State Bar's Lawyer Referral Service at
      www.oregonstatebar.ora or by calling (503) 684-3763 (in the Portland metropolitan area) or tolF free in
 3    Oregon at (800) 452-7636.

 4                                                                  BASSINGER &

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 6                                                                  Ra dy J. H       , OSB # 11 . 14
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                                                                        Oregon 97140
                                                                    Telephone: 503-822-5340
 8                                                                  Fax: 503-433-1404
                                                                    randy@bassingerharveylaw.com
 9                                                                  Of Attorneys for Plaintiff
                                                                    Trial Attorney: Randy J. Harvey
10                                                                  OSB # 16714

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  6 `GABRIELL,Et.'PURDOM-CHR'IS-rY..,.                                       Case No.. 1_8CV4051,8,

  7,                             Plaintiff,                                  COMRLAINT

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                                                                             Retallation;,Ai,'d'j'nq' :an-d,Abettino Discrimination,
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           liabl.lity:oompan
                      I     Y,:; and;JOSEPHDAFOE,
 16        Individuall y ;,
                                                                          iCLAIMS NOT SUBJECT TO MANDATORY
II                              . Def
                                   ~ I Vndants
                                          -.-,-                         j ARBITRATION

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18                                                                          Fliling Fee: $56.0(OR8 24.160(1)(c))

                       Plaintiff alleges: as f. lowsi



                   At, all,materleil times, lioreinj Plaintiff`was-and: is at resident,of'Yanlihill County_ OregOn.

17                                                                         12.
                                                                                                            I
I&                 At all matefiallimes- hbre'inji0fohdantSalem He4ith Qara(hereinafter ",SHC~'.y was and is a-

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20                                                                         3.

21                 At -411 mateCiat firrie& hotoin, Defend atit Joseph daFoe (h pre
                                                                                  -ibafter "daF 0&) was a supervisory
                  .1
22         ehiploy      6 of   SHQ'- arld,was. 8t firnes-apting within the: course, and scqpe of his -ompIdyM6nt1br SHC

23, '1 f                                                                   4

.24                daFoe h-as a: history of' bullyihg, harassment and violence qgplrist. worn,en in his previous

26         employment, which S'HC failed fo oxerQlsp rpasprya4le ppre to disoovef.

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 ~                                           FIRST CLAIM FOR RELIEF

 2                                         (Civil Assault Against daFoe)

 3                                                          5.

 4           Plaintiff incorp'orates paragraphs 1 through 4 by referenc'e.

5                                                           6.

 6          On or about February 6, 2018, daFoe went to Plaintiff's office and intended to threaten Plaintiff

 7   and did threaten Plaintiff in a menacing manner by shouting at her and thrusting his finger into

 8   Plaintiff's face in an attempt to strike Plaintiff, causing Plaintiff to ju"mp back to avoid being struck and

 9   causing her to slam into her chair.

10                                                          7.

11          daFoe intended to place Plaintiff in apprehension of bodily harm and did place Plaintiff in

12   apprehension of bodily harm, and indignity and, as a result thereof, Plaintiff sufPered apprehension,

13   fear and traumatic stress resulting from the assault and may recover emotional distress damages in an

14   arriount to be proven at trial, but not less than $300,000.

15                                                          8.

16          As a direct and proximate result of daFoe's acts described above, Plaintiff has incurred

17   financial damages in an amount to be proven at trial, but not less than $50,000.

18                                         SECOND CLAIM FOR RELIEF

19                                         (Civil Battery Against daFoe)

20                                                          9.

21          Plaintiff incorporates paragraphs 5 through 8 by reference.

22                                                          10.

23          daFoe intended to strike Plaintiff or intended to put Plaintiff in imminent apprehension of such

24   physical contact by shouting at her and attempting to strike her in the face. As a result, Plaintiff was

25   put in imminent apprehension of being struck by daFoe and fell back against her office chair.

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 1                                                          11.

 2            As a direct and proximate result of daFoe's acts describ°ed above, Plaintiff has incurred

 3   financial damages in an amount to be proven at trial, but not (ess th'an $50,000.

 4                                                          12.

 5            Plaintiff has suffered mental suffering antl emotional distress and continues to suffer from fear

 6   of assault by male sup'ervisors. PI'aintiff is entitled to recover emotional distress damages in an amount

 7   to be proven at trial, but not less than $300,000.

 8                                                          13.

 9            Plaintiff has suffered financial damages as a result of Defendant daFoe's battery in an amount

10   to be proven at trial, but not-less than $50,000.00.

11                                          THIRD CLAIM FOR RELIEF

12                                          (Ratification Against SHC)

13                                                         14.

14            Plaintiff incorporates paragraphs 9 through 13 by reference.

15                                                         15.

16            SHC knew or reasonably should have known of daFoe's previous history of bullying,

17   harassment and discrimination toward women at the time it hired daFoe. Knowing that daFoe treated

18   women in this way, SHC terminated Plaintiff's employment aifter daFoe's assault and battery on

19   Plaintiff.

20                                                        16.

21            daFoe committed the assault and battery as herein alleged on or about February 6; 2018.

22   SHC has adopted and ratified daFoe's conduct in th'at SHC promoted and condoned a work

23   environment in which assaults were tolerated. In fact, SHC has adopted daFoe's assault and battery

24   as its own in that SHC has continued to retain daFoe and has expressly or by implication adopted

25   daFoe's conduct as its own when it terminated Plaintiff.                                                     I


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 1                                                        17.

 2           As a dire'ct and proximate result of daFoe's acts described above, Plaintiff has incurred

 3   financial damages according to proof. Plaintiff requests $50,000. Plaintiff has incurred mental suffering

 4   and continues to suffer from fear of assault by male supervisors in an amount to be proven at trial, but

 5   not less than $300,000.

 6                                        FOURTH CLAIM FOR RELIEF

 7                                                  COUNT ONE

 8                                          (Retaliation Against 5HC)

 9                                                        18.

10           Plaintiff incorporates paragraphs 14 through 17 by reference.

11                                                        19.

12           Plaintiff is a member of a protected class because she is female.

13                                                        20.

14           daFoe is a large male and has a history of intimidating and harassing females during current

15' and former employment.

16                                                        21.

17           Plaintiff engaged in a legally protected activity by opposing understaffing and overworking

18   employees, in the good faith belief that such understaffing comprised an immediate risk to patient care

19 and employee safety.

20                                  :                     22.

21          Plaintiff repeatedly raised this concern with SHC and daFoe.

22                                                        23.

23          After Plaintiff's opposition to daFoe and SHC's decisions to under staff and overwork

24 1 I employees, Plaintiff was subjected to assault and battery, suspension from work and termination.

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26 1\\
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 1                                                           24.

 2          Plaintiff's opposition to daFoe and SHC's decisions to under staff and ovenivork employees

 3   risking patient s'afety was a substantial andlor motivating factor in SHC's decision to suspend and

 4 terminate Plaintiff.

 5                                   _                       25.

 6          SHC ratified dafoe's retaliation against Plaintiff for protected activity. As a direct and proximate

 7   result of ratifying ,daFoe's acts d'escribed ab'ove, Plaintiff has incurred financial. damages as follows:

 8          (a) B'ackpay in an arri'ourit to be proven at trial, but n`ot less th'an $8,000 per rrionth, plus

 9                benefits provided while emp(oyed,     in   the amount.of $2,800 per month; and

10          (b) Front pay in an amount to be proven at trial; but not less than $192,000, plus twenty-four

11                months of benefits,at $2,800 per month, not less than $67,000. Plaintiff has incurred

12                mental suffering and continues to suffer from fear of assault by male supervisors in an

13                amount to be   proven   at trial, but not legs than $300,000.

14                                                           26.

15          daFoe and SH.C's suspension and termination of Plaintiff was a legal cause of harm to Plaintiff.

16                                                  COUNT TWO

17                               (Aiding and Abet'ting Retaliation Against SHC)

18                                                           27.

19          Plaintiff incorporates paragraphs 18 through 26 by reference.

20                                                           28.

21          On information and belief, daFoe has a work history of bullying and intimidating women at his

22   current and former employment positions:

23                                                           29.

24          Plaintiff is a woman and engaged in opposition to:

25          (a) daFoe's bullying and intimidation of women in the work force in the good faith belief that

26                such conduct by daFoe violated Oregon Law and Title VII and was discriminatory toward
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 1                 women;

 2           (b) daFoe's unsafe employment practices in the work place; and

 3           (c) daFoe's actions th'at placed patient safetq at risk.

 4                                                           30.

 5           After PlaintifP's opposition to daFoe's violations, Plaintiff was subjected to bullying and

 6   intimidation by daFoe including, but not limited to, assault, battery, harassment and intimidation.

 7                                                           31.

 8           Plaintiff's good faith opposition to daFoe's conduct was a substaritial and'/or motivating factor in

 9   Plaintiff's suspension and termination.

10                                                           32.

11           P(aintiff's suspension and termination was a legal cause of financial and emotional harm to

12   Plaintiff including loss of income. Plaintiff is entitled to:

13           (a) Back in an amount to be proven at trial, but not less than $8,000 per month, including roll-

14                 up costs, insurance and benefits at $2,800 per month;

15           (b) Front pay in an amount to be proven at trial, but not less than $192,000;

16           (c) Emotional distress damages for mental suffering and emotional distress in an amount to

17                 be proven at trial, but not less than $300,000; and

18           (d) Statutory pre-judgment and post judgment interest.

19                                            FIFTH CLAIM FOR RELIEF

20                                          (Discrimination Against SHC)

21                                                           33.

22           Plaintiff incorporates paragraphs 27 through 32 by reference.

23                                                           34.

24           Plaintiff is a woman and was personally subjected to hostility, intimidation, bullying and

25   harassment by daFoe because of her gender. daFoe has a work history of harassing, bullying and

26   discriminating against women in previous and current employment.
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 1                                                           35.

 2           Plaintiff's response to daFoe's discriminatory conduct toward her as a woman was a

 3   substantial or motivating factor in her suspension and termination.

 4                                                           36.

 5           Plaintiff is fully qualified for the position she held and, prior to her good faith opposition-to

 6   misconduct by Defendants, was evaluated positively.

 7                                                           37.

 8           Plaintiff's gender was a substantial and/or motivating factor in daFoe's discrimination targeting

 9   Plaintiff for intimidation, harassment, assault and baftery.



             Plaintiff's suspensi'on and termination was a legal cause of financial a'nd emotional harm to

     Plaintiff including loss of income. Plaintiff is entitled to:

13           (a)   Back pay according to proof. Plaintiff re'quests $8,000 per mont'h, including roll-up costs,

14                 insurance and berlefits at $2,800 per month;

15           (b)   Front pay irl an amount to be proven at trial, but not less than $192,000;

16           (c)   Emotional distress damages for mental sufferin'g and emotional distress in an amount to

17                 be proven at trial, but not less than s$300,000; and

18           (d) Statutory pre judgment and post-judgment interest.

19                                            SIXTH CLAIM FOR RELIEF

20                                                     COUNT ONE

21                               (Aiding and Abetting Retaliation Against daFoe)

22                                                           39.

23           Plaintiff incorporates paragraphs 33 through 38 by reference.

24                                                           40.

25          SHC retaliated against Plaintiff for good faith reporting of unsafe staffing and virrongful

26   employment practices by suspending and terminating Plaintiff's employment.
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 1                                                         41.

 2            daFoe was aware that SHC was suspending and terminating Plaintiff as a result of her

 3 protected activities.

 4                                                         42.

 5            daFoe knew that SHC was suspending and terminating Plairitiff based on his reconimendation

 6 and actions.

 7                                                         43.

 8            daFoe provided substantial assistance and advocated for SHC in susp'ending and terminating

 9   Plaintiff.

10                                                         44.

11           As a direct and proximate result of daFoe's acts described above, Plaintiff has incurred

12   financial damages in an amount to be proven at trial, but not less than $100,000. Plaintiff has incurred

13   mental suffering and continues to suffer fror'rl fear of assault by male supervisors in an amount to be

14   proven at trial, but not less than $300,000.

15                                                  COUNT TWO

16                             (Ai'ding and Abetting Discrimination Against SHC)

17                                                         45.

18            Plaintiff incorporates paragraphs 39 through 44 by reference.

19                                                         46.

20           daFoe was aware that SHC was suspending and terminating Plaintiff as a result of her

21   protected activities.

22                                                         47.

23           SHC knew or reasonably should have known that daFoe was discriminating against Plaintiff.

24                                                         48.

25           SHC provided substantial assistance and acted to support and ratify daFoe's recommendation

26   to suspend and terminate Plaintiff.
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 1                                                             49.

 2            Plaintiff's suspension .and termination was a legal cause of fin'ancial and emotional 'harm to.

 3    Plaintiff including Ioss of incorrle. Plaihtiff is entitled to:

 4,           (a) Back pay according to proof. Plaint'iff requests $8,000 per month, including roll-up costs,

 5                  insurance and benefits at $2,800 per monfh;

 6            (b) Front pay in an amount to bre proven at trial, but not less tfian $192,00"0;

 7            (c) Emotional distress darrlages for mental suffering and emotional distress in an amount to

 8                  be proven at trial, but not less than $300,000; and

 9            (d) Statutory pre judgment and post-judgment interest.

10                                            SEVENTH CLA1M FOR RELIEF

11                                              (Hostile Work Environment)

12                                                             50.

13            Plaintiff incorporates by reference paragraphs 45 through 49.

14                                                             51.

15            Plaintiff belongs to a protected class because sh'e is a woman an`d because she in good faith

16    opposed unsafe conditions for patients and unlawful employment practices.

17                                                             52.

18            Plaintiff was subjected to unvirelcome harassment, intimidation an'd bullying, including assault

19    and battery as a result of her gender andlor as a result of opposition to unsafe conditions and unlawful

20 employment practice.

21                                                             53.

22            The harassment, bullying, intimidation, assault and battery suffered were a direct and

23    proximate resuft of Plaintiff's gender and her opposition to unsafe conditions and unlawful employment

24 practices.

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 1                                                           54.

 2           The harassment, bullying and intimidation Plaintiff.suffe"red affected a term of Plaintiffs

 3   employment because she was suspended and terminated from errlployment.

 4                                                           55.

 5           SHC, who employs daFoe, knew of daFoe's harassing, bulling and intimidation tactics and took

 6   no action to prevent his harm to Plaintiff.

 7                                                           56.

 8            Plaintiff's suspension and termination was a legal cause of financial and remotionEil harm to

 9   Plaintiff including loss of income. Plaintiff is entitled to:

10           (a) Back pay according to proof. Plaintiff requests $8,000 per month, including roll-up costs,

11                 insurance and benefits at $2,800 per month;

12           (b) Front pay in an amount to be proven at trial, but not less thah $192,000;

13           (c) Emotional distress damages for mental suffering and emotional distress in an amount to

14                 be proven at trial, but not less than $300,000; and

15           (d) Statutory pre judgment and post judgment interest.

16          WHEREFORE, Plaintiff prays for judgment against Defendants, jointiy and severally, as

17 follows:

18          1.       Back pay in a monthly amount of $8,000 per month, including roll-up costs, insurance

19   and benefits at $2,800 per month;

20          2.       Front pay in an 'amount to be proven at trial, but not less than $192,000;

21          3.       General damages in an amount to be proven at trial, but not less t'han $50,000;

22          4.       Emotional distress in an amount to be proven at t"rial, but not less than $300,000;

23          5.       Interest to the extent allowable by law;

24          6.       Attorney fees under ORS 652.200, ORS659A.030 and costs of suit herein;

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 1'              7.    On all claims, as applicable, amounts necessary to ofFset th'e in'come tax consequences

 2     of receiving a lump sum payriient, ratfier than receiving a p'ayment of wages over the applicable time

 3     fram'e;                         '

 4               8.    Plaintiff intend's,to seek an order of the court allowing pursuit of punitive damages; and

 5               9.    Arty other relief the court deems just and equitable.

 6               DATED this           day of September 2018.

 7                                                               BASSINGEA & HARVJ-
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                                                                 randy@bas            arveylaw.com
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